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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA


v.                                   NO. 4:07CR00049-(5,8,10,12) - JMM

NICHOLAS DAVIS
CATRINA RUFUS
DENISE THOMAS
CHRISTOPHER HUTSON

                       AMENDED DISMISSAL OF INDICTMENT


      Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure and by leave

of Court endorsed hereon, the United States Attorney for the Eastern District of Arkansas

hereby dismisses without prejudice the above-styled indictment against the named

defendants only pursuant to an agreement for alternative disposition.

                                          JANE DUKE
                                          United States Attorney

                                          /s/ Edward O. Walker
                                          EDWARD O. WALKER
                                          Bar No. 2000076
                                          Attorney for the Government
                                          P. O. Box 1229
                                          Little Rock, Arkansas 72203
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      Leave of Court is granted this 1st day of December, 2008 for the filing of the

foregoing dismissal of indictment.



                                          UNITED STATES DISTRICT JUDGE
